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February 5, 2020

VIA ECF AND E-MAIL

The Hon. Judge Cathy Seibel

The Hon. Charles L. Brieant Jr.

Federal Building and United States Courthouse
300 Quarropas St., Courtroom: 621

White Plains, NY 10601-4150
chambersnysdseibel@nysd.uscourts.gov

Re: Can't Stop Productions, Inc. v. Sixuvus, Ltd. et al. 7:17-cv-06513-CS
Hon. Judge Seibel:

The undersigned counsel respectively represents Defendants Sixuvus, Ltd., Eric Anzalone,
Alexander Briley, James F. Newman, Raymond Simpson, Felipe Rose and William Whitefield (the
“Defendants”) and Plaintiff Can’t Stop Productions, Inc., (“Plaintiff”) in the above-referenced
action.

We write, pursuant to Rule 1.A of Your Honor’s Individual Practices. We are pleased to
report that Plaintiff and Defendants have consummated a settlement agreement. Plaintiff and
Defendants are jointly respectfully requesting that the Court dismiss the Action with prejudice
pursuant to the attached proposed Order.

We appreciate the Court’s time and consideration, and should Your Honor need any further
information, we are available at the Court’s convenience.

Respectfully Submitted,
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